Case. 3:98-cv-00088-CRB Document 351

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FILED

MAY 07 2007

UNITED STATES COURT OF APPEALS CATHY A CATTERSON, CLERK

U.8. COURT OF APPEALS

FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,
Plaintiff - Appellee,

Vv.

OAKLAND CANNABIS BUYERS’
COOPERATIVE; et al.,

Defendants - Appellants.

FILED

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05-16547 MAY ~ 8

05-16556 RICHARD W. WIEKING
NORTHERN BSTaIct OF CALIFORNIA
D.C. No. CV-98-00088-CRB
Northern District of California,

San Francisco

ORDER

Appellants Marin Alliance for Medical Marijuana and Lynnette Shaw’s

unopposed motion for an extension of time to file a joinder to the opening brief is

construed as a motion to file a joinder to the opening brief filed by appellant

Oakland Cannibis Buyer’s Cooperative on April 13, 2007. So construed, the

motion is granted.

Appellants Marin Alliance for Medical Marijuana and Lynnette Shaw’s

unopposed motion to file a supplemental opening brief is granted. The

supplemental opening brief shall not exceed 5 pages and is due within 14 days

after the date of this order.
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05-16466, 05-16547, 05-16556

The answering brief is due 30 days after service of the supplemental
opening brief. The optional reply brief is due 14 days after service of the
answering brief.

For the Court:

CATHY A. CATTERSON
Clerk of the Court

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Deputy Clerk
Ninth Circuit Rule 27-7/Advisory Note
to Rule 27 and Ninth Circuit Rule 27-10

pro 4.30
